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 9   UNITED STATES OF AMERICA

10                             UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. 2:20-CR-00322-ODW

13                Plaintiff,                  PLEA AGREEMENT FOR DEFENDANT
                                              RAMON OLORUNWA ABBAS
14                     v.

15   RAMON OLORUNWA ABBAS,
       aka “Ray Hushpuppi,”
16     aka “Hush,”

17                Defendant.

18

19           1.   This constitutes the plea agreement between defendant RAMON
20   OLORUNWA ABBAS, also known as (“aka”) “Ray Hushpuppi,” aka “Hush,”
21   (“defendant”), and the United States Attorney’s Office for the
22   Central District of California (“the USAO”) in the above-captioned
23   case.    This agreement is limited to the USAO and cannot bind any
24   other federal, state, local, or foreign prosecuting, enforcement,
25   administrative, or regulatory authorities.
26                               DEFENDANT’S OBLIGATIONS
27           2.   Defendant agrees to:
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 1              a.    Give up the right to indictment by a grand jury and,

 2   at the earliest opportunity requested by the USAO and provided by the

 3   Court, appear and plead guilty to Count Two of the Information in

 4   United States v. Ramon Olorunwa Abbas, Case No. 2:20-CR-00322-ODW,

 5   which charges defendant with Conspiracy to Engage in Money
 6   Laundering, in violation of 18 U.S.C. § 1956(h).
 7              b.    Not contest facts agreed to in this agreement.
 8              c.    Abide by all agreements regarding sentencing contained
 9   in this agreement.
10              d.    Agree that all court appearances, including his change
11   of plea hearing and sentencing hearing, may proceed by video-
12   teleconference (“VTC”) or telephone, if VTC is not reasonably
13   available, so long as such appearances are authorized by Order of the
14   Chief Judge 20-043 or another order, rule, or statute.           Defendant
15   understands that, under the United States Constitution, the United
16   States Code, and the Federal Rules of Criminal Procedure (including
17   Rules 11, 32, and 43), he may have the right to be physically present
18   at these hearings.     Defendant understands that right and, after
19   consulting with counsel, voluntarily agrees to waive it and to
20   proceed remotely.      Defense counsel also joins in this consent,
21   agreement, and waiver.      Specifically, this agreement includes, but is
22   not limited to, the following:
23                    i.     Defendant consents under Section 15002(b) of the
24   CARES Act to proceed with his change of plea hearing by VTC or
25   telephone, if VTC is not reasonably available.
26                    ii.    Defendant consents under Section 15002(b) of the
27   CARES Act to proceed with his sentencing hearing by VTC or telephone,
28   if VTC is not reasonably available.
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 1                    iii. Defendant consents under 18 U.S.C. § 3148 and

 2   Section 15002(b) of the CARES Act to proceed with any hearing

 3   regarding alleged violations of the conditions of pretrial release by

 4   VTC or telephone, if VTC is not reasonably available.

 5              e.    Appear for all court appearances, surrender as ordered

 6   for service of sentence, obey all conditions of any bond, and obey

 7   any other ongoing court order in this matter.

 8              f.    Not commit any crime; however, offenses that would be

 9   excluded for sentencing purposes under United States Sentencing

10   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

11   within the scope of this agreement.

12              g.    Be truthful at all times with the United States

13   Probation and Pretrial Services Office and the Court.

14              h.    Pay the applicable special assessment at or before the

15   time of sentencing unless defendant has demonstrated a lack of

16   ability to pay such assessments.

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11                              THE USAO’S OBLIGATIONS

12         5.     The USAO agrees to:
13                a.   Not contest facts agreed to in this agreement.
14                b.   Abide by all agreements regarding sentencing contained
15   in this agreement.
16                c.   At the time of sentencing, move to dismiss the
17   remaining counts of the Information in United States v. Ramon
18   Olorunwa Abbas, Case No. 2:20-CR-00322-ODW, as against defendant.
19   Defendant agrees, however, that at the time of sentencing the Court
20   may consider any dismissed charges in determining the applicable
21   Sentencing Guidelines range, the propriety and extent of any
22   departure from that range, and the sentence to be imposed.
23                d.   After defendant enters a plea of guilty to Count Two
24   of the Information in United States v. Ramon Olorunwa Abbas, Case No.
25   2:20-CR-00322-ODW, move to dismiss the Complaint in United States v.
26   Ramon Olorunwa Abbas, et al., Case No. 2:21-MJ-00760, as against
27   defendant.    Defendant agrees, however, that at the time of sentencing
28   the Court may consider any dismissed charges in determining the
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 1   applicable Sentencing Guidelines range, the propriety and extent of

 2   any departure from that range, and the sentence to be imposed.

 3              e.    At the time of sentencing, provided that defendant

 4   demonstrates an acceptance of responsibility for the offense up to

 5   and including the time of sentencing, recommend a two-level reduction

 6   in the applicable Sentencing Guidelines offense level, pursuant to

 7   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

 8   additional one-level reduction if available under that section.

 9              f.    Except for criminal tax violations (including

10   conspiracy to commit such violations chargeable under 18 U.S.C.

11   § 371), not further criminally prosecute defendant for violations of

12   18 U.S.C. §§ 1956(h) (Conspiracy to Engage in Money Laundering); 1349

13   (Conspiracy to Commit Wire Fraud, Mail Fraud, and Bank Fraud); 1343

14   (Wire Fraud); § 1344 (Bank Fraud); 1956 (Money Laundering); 1957

15   (Engaging in Monetary Transactions in Property Derived from Specified

16   Unlawful Activity); and 1028A (Aggravated Identity Theft) arising out

17   of: (i) defendant’s conduct described in the agreed-to factual basis

18   set forth in paragraph 15 below; (ii) evidence obtained by FBI during

19   the search of defendant’s cell phone, pursuant to a search warrant

20   obtained on or about August 12, 2020; and (c) evidence seized by FBI

21   during searches of defendant’s online accounts, pursuant to search

22   warrants obtained on or about April 23, 2020.         Defendant understands

23   that the USAO is free to criminally prosecute defendant for any other

24   unlawful past conduct or any unlawful conduct that occurs after the

25   date of this agreement.      Defendant agrees that at the time of

26   sentencing the Court may consider the uncharged conduct in

27   determining the applicable Sentencing Guidelines range, the propriety

28   and extent of any departure from that range, and the sentence to be

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 1   imposed after consideration of the Sentencing Guidelines and all

 2   other relevant factors under 18 U.S.C. § 3553(a).

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10                               NATURE OF THE OFFENSE

11         8.   Defendant understands that for defendant to be guilty of
12   the crime charged in Count Two of the Information, that is,
13   Conspiracy to Engage in Money Laundering, in violation of 18 U.S.C.
14   § 1956(h), the following must be true:
15              a.    There was an agreement between two or more persons:
16                    i.    to conduct a financial transaction involving
17   property that represented the proceeds of wire fraud (in violation of
18   Title 18, United States Code, Section 1343), where defendant knew
19   that the property represented the proceeds of some form of unlawful
20   activity, and defendant knew that the transaction was designed in
21   whole or in part to conceal or disguise the nature, location, source,
22   ownership, or control of the proceeds; or
23                    ii.   to transport, transmit, or transfer, or attempt
24   to transport, transmit, or transfer, from a place in the United
25   States to or through a place outside the United States, a monetary
26   instrument or funds, which defendant knew represented the proceeds of
27   some form of unlawful activity, and defendant knew that the
28   transaction was designed in whole or in part to conceal or disguise
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 1   the nature, location, source, ownership, or control of the proceeds

 2   of wire fraud (in violation of Title 18, United States Code, Section

 3   1343); or

 4                      iii. to knowingly engage or attempt to engage in a

 5   monetary transaction in the United States in criminally derived

 6   property that had a value greater than $10,000 and was, in fact,

 7   derived from wire fraud (in violation of Title 18, United States

 8   Code, Section 1343); and

 9                 b.   defendant became a member of the conspiracy knowing of

10   at least one of its objects and intending to help accomplish it.

11                             PENALTIES AND RESTITUTION

12           9.    Defendant understands that the statutory maximum sentence
13   that the Court can impose for a violation of Title 18, United States
14   Code, Section 1956(h), as charged in the Information, is: 20 years’
15   imprisonment; a 3-year period of supervised release; a fine of
16   $500,000 or twice the gross gain or gross loss resulting from the
17   offense, whichever is greatest; and a mandatory special assessment of
18   $100.
19           10.   Defendant understands that defendant will be required to
20   pay full restitution to the victim(s) of the offense to which
21   defendant is pleading guilty.       Defendant agrees that, in return for
22   the USAO’s compliance with its obligations under this agreement, the
23   Court may order restitution to persons other than the victim(s) of
24   the offenses to which defendant is pleading guilty and in amounts
25   greater than those alleged in the count to which defendant is
26   pleading guilty.     In particular, defendant agrees that the Court may
27   order restitution to any victim of any of the following for any
28   losses suffered by that victim as a result: (a) any relevant conduct,
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 1   as defined in U.S.S.G. § 1B1.3, in connection with the offense to

 2   which defendant is pleading guilty; and (b) any counts dismissed and

 3   charges not prosecuted pursuant to this agreement as well as all

 4   relevant conduct, as defined in U.S.S.G. § 1B1.3, in connection with

 5   those counts and charges.       The parties currently believe that the

 6   applicable amount of restitution is approximately $1,732,841.34, but

 7   recognize and agree that this amount could change based on facts that

 8   come to the attention of the parties prior to sentencing.

 9         11.   Defendant agrees that any and all fines and/or restitution

10   ordered by the Court will be due immediately.          The government is not

11   precluded from pursuing, in excess of any payment schedule set by the

12   Court, any and all available remedies by which to satisfy defendant’s

13   payment of the full financial obligation, including referral to the

14   Treasury Offset Program.

15         12.   Defendant understands that supervised release is a period

16   of time following imprisonment during which defendant will be subject

17   to various restrictions and requirements.         Defendant understands that

18   if defendant violates one or more of the conditions of any supervised

19   release imposed, defendant may be returned to prison for all or part

20   of the term of supervised release authorized by statute for the

21   offense that resulted in the term of supervised release, which could

22   result in defendant serving a total term of imprisonment greater than

23   the statutory maximum stated above.

24         13.   Defendant understands that, by pleading guilty, defendant

25   may be giving up valuable government benefits and valuable civic

26   rights, such as the right to vote, the right to possess a firearm,

27   the right to hold office, and the right to serve on a jury.

28   Defendant understands that he is pleading guilty to a felony and that

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 1   it is a federal crime for a convicted felon to possess a firearm or

 2   ammunition.    Defendant understands that the conviction in this case

 3   may also subject defendant to various other collateral consequences,

 4   including but not limited to revocation of probation, parole, or

 5   supervised release in another case and suspension or revocation of a

 6   professional license.      Defendant understands that unanticipated

 7   collateral consequences will not serve as grounds to withdraw

 8   defendant’s guilty plea.

 9         14.    Defendant and his counsel have discussed the fact that, and

10   defendant understands that, if defendant is not a United States

11   citizen, the conviction in this case makes it practically inevitable

12   and a virtual certainty that defendant will be removed or deported

13   from the United States.      Defendant may also be denied United States

14   citizenship and admission to the United States in the future.

15   Defendant understands that while there may be arguments that

16   defendant can raise in immigration proceedings to avoid or delay

17   removal, removal is presumptively mandatory and a virtual certainty

18   in this case.     Defendant further understands that removal and

19   immigration consequences are the subject of a separate proceeding and

20   that no one, including his attorney or the Court, can predict to an

21   absolute certainty the effect of his conviction on his immigration

22   status.     Defendant nevertheless affirms that he wants to plead guilty

23   regardless of any immigration consequences that his plea may entail,

24   even if the consequence is automatic removal from the United States.

25                                    FACTUAL BASIS

26         15.    Defendant admits that defendant is, in fact, guilty of the
27   offense to which defendant is agreeing to plead guilty.           Defendant
28   and the USAO agree to the statement of facts provided below and agree
                                           11
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 1   that this statement of facts is sufficient to support a plea of

 2   guilty to the charge described in this agreement and to establish the

 3   Sentencing Guidelines factors set forth in paragraph 17 below but is

 4   not meant to be a complete recitation of all facts relevant to the

 5   underlying criminal conduct or all facts known to either party that

 6   relate to that conduct.

 7         Beginning no later than on or about January 18, 2019, through on

 8   or about June 9, 2020, defendant knowingly combined, agreed, and

 9   conspired with multiple other persons (“coconspirators”) to conduct

10   financial transactions into, within, and outside the United States

11   involving property that represented the proceeds of wire fraud.

12   These coconspirators included the persons referred to in the

13   Information as UICC 1 and UICC 2, as well as other coconspirators not

14   referred to in the Information.        The coconspirators targeted multiple

15   victims and laundered and/or attempted to launder funds fraudulently

16   obtained, and attempted to be fraudulently obtained, through bank

17   cyber-heists, 1 business email compromise (“BEC”) frauds, 2 and other

18   fraud schemes.     The intended victims of the conspiracy included the
19   victims identified in the Information as the Foreign Financial
20   Institution (which was a bank in Malta), the Victim Law Firm (located
21   in New York State), and two companies located in the United Kingdom.
22

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24        1 A cyber-heist typically occurs where a hacker has gained
     access to the computer(s) of a bank without authorization and sent
25   messages through the Society for Worldwide Interbank Financial
     Telecommunication (“SWIFT”) communication system from the victim
26   bank’s computer system, authorizing and causing fraudulent wire
     transfers to bank accounts used and controlled by coconspirators.
27
           2BEC schemes typically involve a hacker gaining unauthorized
28   access to a business email account, and attempting to trick a victim
     into making an unauthorized wire transfer.
                                     12
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 1         Defendant admits that he conspired with UICC 1 and others to

 2   defraud these victims and conspired to launder funds obtained from

 3   them in the manner described in the Information, and that it was

 4   reasonably foreseeable to defendant that the schemes intended to

 5   defraud these victims of the amounts listed below.           Defendant also

 6   admits the truth of the allegations in Overt Acts 1 to 17.            Defendant

 7   knew that the property obtained and attempted to be obtained

 8   represented, and would represent, the proceeds of some form of

 9   unlawful activity; that the transactions were, and would be, designed

10   in whole or in part to conceal or disguise the nature, location,

11   source, ownership, and control of the proceeds; and that the

12   transactions with these criminally derived proceeds, at times,

13   exceeded $10,000.     Defendant became a member of the conspiracy

14   knowing of its objects and intending to help accomplish them.

15   Multiple members of the conspiracy took steps in furtherance of it,

16   including defendant, as described in Overt Acts 1 to 17 and below.

17         Defendant would sometimes communicate with individuals

18   committing fraud (“fraudsters”), or middle-men for fraudsters, who

19   sought bank accounts into which they could fraudulently induce

20   victims to deposit or transfer funds.         These individuals included

21   UICC 1 and others.     Defendant knew that these fraudulent schemes

22   included bank cyber-heists, BEC schemes, and other fraud schemes.

23   The Foreign Financial Institution (a bank in Malta) was an intended

24   victim of a cyber-heist, while the other victims identified above

25   were victims of BEC schemes.       For example, as to the BEC schemes

26   involving the victim companies in the United Kingdom, defendant and

27   UICC 1 discussed, on May 12, 2019, how the fraud schemes were

28   anticipated to result in fraudulent payments of approximately £6

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 1   million per week.     The fraudsters perpetrating these schemes, along

 2   with the middle-men, were largely located outside the United States.

 3         Once a victim deposited funds into a bank account, defendant

 4   would coordinate with other coconspirators to obtain or move the

 5   funds, and then to further launder the funds.          This sometimes

 6   involved a coconspirator sending the funds to other bank accounts

 7   used or controlled by coconspirators through international wires,

 8   withdrawing funds through checks or as cash, or further laundering

 9   funds.    For instance, defendant conspired with UICC 1 to use the bank

10   account identified in the Information as the CIBC Account, which was

11   held in Ontario, Canada by UICC 2, to launder funds obtained from the

12   Victim Law Firm.

13         In addition to admitting defendant’s involvement in schemes

14   intending to defraud the victims listed above, defendant admits the

15   following facts regarding his involvement in a scheme to defraud a

16   victim company in Qatar that was building an international school

17   (the “Qatari Victim Company”) and the owner of that company (the

18   “Victim Businessperson”).       Defendant agrees that his acts in

19   furtherance of this scheme are relevant conduct, as defined in

20   U.S.S.G. § 1B1.3.

21         In or around December 2019, defendant began conspiring with a

22   coconspirator (“Coconspirator A”) to defraud the Victim

23   Businessperson, who was seeking a lender to invest $15,000,000 in a

24   project to build an international school.         Coconspirator A had

25   already defrauded the Victim Businessperson of funds at the time that

26   defendant joined the scheme.       Beginning on or around December 11,

27   2019, defendant began to communicate with the Victim Businessperson,

28   fraudulently using the name “Malik.”        As “Malik,” defendant falsely

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 1   told the Victim Businessperson that he would assist the Victim

 2   Businessperson in opening a bank account in the United States where

 3   the $15,000,000 loan could initially be deposited.           In truth,

 4   defendant and Coconspirator A did not intend to assist the Victim

 5   Businessperson in securing a loan; they were defrauding the Victim

 6   Businessperson.

 7         In order to further the fraud scheme, defendant arranged for a

 8   coconspirator (“Coconspirator B”) to open a bank account at Wells

 9   Fargo Bank in Canoga Park, California in the name of the Qatari

10   Victim Company, which also included filing a fictitious business name

11   statement with the Los Angeles County Registrar/Recorder’s Office in

12   order to register the fictitious business entity.          After

13   Coconspirator B arranged to file the fictitious business name

14   statement and open the Wells Fargo bank account ending in 5320 (the

15   “Wells Fargo Account”), defendant directed a coconspirator in Nigeria

16   (“Coconspirator C”) to create a false and fraudulent “power of

17   attorney” document bearing the name of the Qatari Victim Company.

18   Defendant then sent information relating to the Wells Fargo Account,

19   as well as the “power of attorney” document, to the Victim

20   Businessperson on or about December 19 and 20, 2019, in order to

21   further the fraud scheme.

22         Between approximately December 19, 2019 and December 24, 2019,

23   Coconspirator A and defendant each corresponded with the Victim

24   Businessperson to fraudulently induce the Victim Businessperson to

25   pay approximately $330,000 to fund the opening of a purported

26   “investor’s account” in order to facilitate the transfer of the

27   $15,000,000 loan they promised the Victim Businessperson.            Defendant,

28   specifically, directed the Victim Businessperson to make wire

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 1   transfers of $230,000 to a Wells Fargo bank account of a luxury

 2   watch-seller and $100,000 to a Capital One bank account of a

 3   coconspirator (“Coconspirator D”).         The Victim Businessperson made

 4   those wire transfers to these bank accounts, both of which were in

 5   the United States, on or about December 26, 2019.

 6         Defendant used the funds from those wire transfers for his

 7   personal benefit, and none of the funds were used as defendant and

 8   Coconspirator A promised the Victim Businessperson.           Defendant used

 9   the wire transfer of $230,000 to purchase a luxury Richard Mille

10   RM11-03 watch.     Defendant arranged for the watch-seller to have the

11   watch available in the New York metropolitan area, where

12   Coconspirator D picked it up.       Coconspirator D -- coordinating with

13   another coconspirator (“Coconspirator E”) -- arranged to have the

14   watch delivered to a different coconspirator (“Coconspirator F”).

15   Defendant then directed Coconspirator F to transport the watch on a

16   flight from John F. Kennedy International Airport in New York to the

17   United Arab Emirates, where Coconspirator F delivered the watch to

18   defendant on or about January 4, 2020.

19         As to the $100,000 wire transfer to Coconspirator D, defendant

20   directed Coconspirator D to withdraw the funds and convert a portion

21   of them -- minus $8,000 for Coconspirator D, which was her cut -- to

22   Nigerian Naira, which she would then send to coconspirators who would

23   deliver the funds to defendant using transfers between Nigerian bank

24   accounts.    Defendant also arranged to have Coconspirator D send

25   cashier’s checks of $40,000 and $10,000 to persons specified by a

26   coconspirator (“Coconspirator G”) who would use the funds to obtain

27   St. Christopher (St. Kitts) and Nevis citizenship and a passport for

28   defendant.    Defendant received the passport in February 2020.

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 1         Between approximately January 8, 2020 and February 4, 2020

 2   defendant and Coconspirator A each corresponded with the Victim

 3   Businessperson, attempting to fraudulently induce the Victim

 4   Businessperson to pay $575,000 in purported “taxes” to release the

 5   $15,000,000 loan that the Victim Businessperson was expecting.

 6   Between approximately February 5, 2020 and February 7, 2020 the

 7   Victim Businessperson wire transferred approximately $299,983.58 to

 8   bank accounts specified by Coconspirator A in Kenya.

 9         On or about March 2, 2020, defendant fraudulently induced the

10   Victim Businessperson to send additional wire transfers to U.S. bank

11   accounts of $100,000 to Coconspirator D and $80,000 to a different

12   coconspirator (“Coconspirator H”).         The funds from these payments

13   were subsequently laundered through a variety of means, with the

14   assistance of Coconspirators D, E, G, and H.

15         Defendant admits to the following approximate actual or intended

16   loss amounts, foreseeable to him, in connection with the victims

17   identified in the Information and this Plea Agreement:

18            x   Foreign Financial Institution: approximately $14,700,000.00
19                (€13,000,000);

20            x   Victim Companies in the U.K.: approximately $7,740,000.00
21                ǧ 

22            x   Victim Law Firm: $922,857.76; and
23            x   Victim Businessperson and Qatari Victim Company:
24                $809,983.58.

25         Defendant admits that all of the money laundering described

26   above was sophisticated, extensive, and involved multiple persons.

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                                           17
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 1                                 SENTENCING FACTORS

 2         16.   Defendant understands that in determining defendant’s
 3   sentence the Court is required to calculate the applicable Sentencing
 4   Guidelines range and to consider that range, possible departures
 5   under the Sentencing Guidelines, and the other sentencing factors set
 6   forth in 18 U.S.C. § 3553(a).       Defendant understands that the
 7   Sentencing Guidelines are advisory only, that defendant cannot have
 8   any expectation of receiving a sentence within the calculated
 9   Sentencing Guidelines range, and that after considering the
10   Sentencing Guidelines and the other § 3553(a) factors, the Court will
11   be free to exercise its discretion to impose any sentence it finds
12   appropriate up to the maximum set by statute for the crime of
13   conviction.
14         17.   Defendant and the USAO agree to the following applicable
15   Sentencing Guidelines factors:
16       Underlying Offense Level:              7     [U.S.S.G. §§ 2S1.1(a)(1),
17                                                                   2B1.1(a)(1)]
18       Fraud scheme outside the               +2                      [U.S.S.G.
         U.S./sophisticated means
19                                                      § 2B1.1(b)(10)(B) & (C)]
20       Conviction under 18 U.S.C.             +2   [U.S.S.G. § 2S1.1(b)(2)(B)]
         § 1956
21
         Sophisticated laundering               +2     [U.S.S.G. § 2S1.1(b)(3)]
22

23   The parties further agree that a loss amount between $9,500,000 and
24   $25,000,000, corresponding to a +20 offense level increase under
25   U.S.S.G. § 2B1.1(b)(1)(K), is a reasonable and appropriate estimate
26   of defendant’s intended loss, and adequately accounts for the
27   seriousness of the offense.
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 1         Defendant and the USAO reserve the right to argue that

 2   additional specific offense characteristics, adjustments, and

 3   departures under the Sentencing Guidelines are appropriate.

 4         Defendant specifically reserves the right to argue for a

 5   reduction in his sentence due to the conditions of his confinement in

 6   the Central District of California during the COVID-19 pandemic.

 7         18.   Defendant understands that there is no agreement as to

 8   defendant’s criminal history or criminal history category.

 9         19.   Defendant and the USAO reserve the right to argue for a

10   sentence outside the sentencing range established by the Sentencing

11   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

12   (a)(2), (a)(3), (a)(6), and (a)(7).

13                          WAIVER OF CONSTITUTIONAL RIGHTS

14         20.   Defendant understands that by pleading guilty, defendant
15   gives up the following rights:
16               a.    The right to persist in a plea of not guilty.
17               b.    The right to a speedy and public trial by jury.
18               c.    The right to be represented by counsel -- and if
19   necessary have the Court appoint counsel -- at trial.           Defendant
20   understands, however, that, defendant retains the right to be
21   represented by counsel -- and if necessary have the Court appoint
22   counsel -- at every other stage of the proceeding.
23               d.    The right to be presumed innocent and to have the
24   burden of proof placed on the government to prove defendant guilty
25   beyond a reasonable doubt.
26               e.    The right to confront and cross-examine witnesses
27   against defendant.
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 1                f.   The right to testify and to present evidence in

 2   opposition to the charges, including the right to compel the

 3   attendance of witnesses to testify.

 4                g.   The right not to be compelled to testify, and, if

 5   defendant chose not to testify or present evidence, to have that

 6   choice not be used against defendant.

 7                h.   Any and all rights to pursue any affirmative defenses,

 8   Fourth Amendment or Fifth Amendment claims, and other pretrial

 9   motions that have been filed or could be filed.

10               WAIVER OF APPEAL OF CONVICTION AND COLLATERAL ATTACK

11         21.    Defendant understands that, with the exception of an appeal
12   based on a claim that defendant’s guilty plea was involuntary, by
13   pleading guilty defendant is waiving and giving up any right to
14   appeal defendant’s conviction on the offense to which defendant is
15   pleading guilty.
16         22.    Defendant also gives up any right to bring a post-
17   conviction collateral attack on the conviction or sentence, except a
18   post-conviction collateral attack based on a claim of ineffective
19   assistance of counsel, a claim of newly discovered evidence, or an
20   explicitly retroactive change in the applicable Sentencing
21   Guidelines, sentencing statutes, or statutes of conviction.
22         23.    Defendant understands that these waivers include, but are
23   not limited to, arguments that the statute to which defendant is
24   pleading guilty is unconstitutional, and any and all claims that the
25   statement of facts provided herein is insufficient to support
26   defendant’s plea of guilty.
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 1                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

 2         24.   Defendant agrees that, provided the Court imposes a total
 3   term of imprisonment on the count of conviction within the statutory
 4   maximum, defendant gives up the right to appeal all of the following:
 5   (a) the procedures and calculations used to determine and impose any
 6   portion of the sentence; (b) the term of imprisonment imposed by the
 7   Court; (c) the fine imposed by the Court, provided it is within the
 8   statutory maximum; (d) to the extent permitted by law, the
 9   constitutionality or legality of defendant’s sentence, provided it is
10   within the statutory maximum; (e) the amount and terms of any
11   restitution order; (f) the term of probation or supervised release
12   imposed by the Court, provided it is within the statutory maximum;
13   and (g) any of the following conditions of probation or supervised
14   release imposed by the Court: the conditions set forth in General
15   Order 20-04 of this Court; the drug testing conditions mandated by 18
16   U.S.C. §§ 3563(a)(5) and 3583(d); and the alcohol and drug use
17   conditions authorized by 18 U.S.C. § 3563(b)(7).
18         25.   The USAO agrees that, provided all portions of the sentence
19   are at or below the statutory maximum specified above, the USAO gives
20   up its right to appeal any portion of the sentence, with the
21   exception that the USAO reserves the right to appeal the amount of
22   restitution ordered if that amount is less than $1,732,841.34.
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 1            COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

 2                                 OFFICE NOT PARTIES
 3         33.   Defendant understands that the Court and the United States
 4   Probation and Pretrial Services Office are not parties to this
 5   agreement and need not accept any of the USAO’s sentencing
 6   recommendations or the parties’ agreements to facts or sentencing
 7   factors.
 8         34.   Defendant understands that both defendant and the USAO are
 9   free to: (a) supplement the facts by supplying relevant information
10   to the United States Probation and Pretrial Services Office and the
11   Court, (b) correct any and all factual misstatements relating to the
12   Court’s Sentencing Guidelines calculations and determination of
13   sentence, and (c) argue on appeal and collateral review that the
14   Court’s Sentencing Guidelines calculations and the sentence it
15   chooses to impose are not error, although each party agrees to
16   maintain its view that the calculations in paragraph 17 are
17   consistent with the facts of this case.         While this paragraph permits
18   both the USAO and defendant to submit full and complete factual
19   information to the United States Probation and Pretrial Services
20   Office and the Court, even if that factual information may be viewed
21   as inconsistent with the facts agreed to in this agreement, this
22   paragraph does not affect defendant’s and the USAO’s obligations not
23   to contest the facts agreed to in this agreement.
24         35.   Defendant understands that even if the Court ignores any
25   sentencing recommendation, finds facts or reaches conclusions
26   different from those agreed to, and/or imposes any sentence up to the
27   maximum established by statute, defendant cannot, for that reason,
28   withdraw defendant’s guilty plea, and defendant will remain bound to
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